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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


     GHAZALA SIDDIQUI, ET AL.,
                                                        Case No. 17-13351
              Plaintiffs,
                                                 SENIOR UNITED STATES DISTRICT
                  v.                               JUDGE ARTHUR J. TARNOW

    UNITED STATES OF AMERICA,                      MAGISTRATE JUDGE DAVID R.
                                                           GRAND
             Defendants.


                                       /

   ORDER DIRECTING PLAINTIFFS TO RESPOND TO DEFENDANT’S MOTION TO
          DISMISS [14] AND SCHEDULING A STATUS CONFERENCE

      Plaintiffs Ghazala and Masood Siddiqui filed their Complaint [Dkt. 1] on

October 13, 2017. The United States filed a Motion to Dismiss for Lack of Subject

Matter Jurisdiction [8] on December 15, 2017. A hearing on the motion took place

on April 26, 2018.

      Plaintiffs filed an Amended Complaint [13] on May 29, 2018. Defendant

filed its updated Motion to Dismiss [14] on June 19, 2018.

      Pursuant to Local Rules 7.1(c)(1) and 7.1(e)(1)(B), a party opposing a

dispositive motion must file a response within 21 days after service of the motion.



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Over 21 days have passed since the filing of Defendant’s aforementioned motion,

and Plaintiffs have not yet filed a response. Accordingly,

      IT IS ORDERED that Plaintiffs will file a response to Defendant’s Motion

to Dismiss [14] by close of business on Monday, July 23, 2018.

      IT IS FURTHER ORDERED that counsel for the parties shall meet with

the Court for a status conference at 11:30 AM on Thursday, July 26, 2018.

      SO ORDERED.


                                       /s/Arthur J. Tarnow______________
                                       Arthur J. Tarnow
Dated: 7/11/2018                       Senior United States District Judge


                                Certificate of Service
      I hereby certify that this Order was electronically submitted on July 11,
2018, using the CM/ECF system, which will send notification to each party.

                                                s/A. Chubb
                                                Case Manager




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